
Nott, J.,
delivered the opinion of the court:
The claimant’s motion is to substitute the assignor for the assignee in any action under the Abandoned or captured property act, and to allow the same action to proceed in the name of the assignor to the use of the assignee for the recovery of the proceeds of the same captured property. The object of the motion, is to save the right of action from being barred by the statute-of limitations, which would be the case were a new action to be-brought now. The English cases cited by the claimant’s counsel sustain the motion in principle,” (13 Mees &amp; Weis, 556; 6 L. &amp; Eq. B»., 568,) and the case of Cote (3 O. Cls. B., p. 64,) is precisely in point.
The motion is allowed.
